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                                      ATTACHMENT E

                                      CERTIFICATION

To:    United States Department of Justice
       Criminal Division, Fraud Section
       Attention: Chief of the Fraud Section


Re:     Plea Agreement Disclosure Certification

       The undersigned certify, pursuant to Paragraph 11 of the Plea                           the

Agreement             December 22, 2021 in the United States District Court for the District of

Columbia, by and between the United States of America and Balfour Beatty Communities, LLC



Paragraph 10 of the Agreement, and that the Company has disclosed to the United States

                                                                                      any and all

evidence or allegations of conduct required pursuant to Paragraph 10 of the Agreement, which

includes evidence or allegations of any violation of the U.S. fraud laws committed by the



             . This obligation to disclose information extends to any and all Disclosable



whistleblower channel, internal audit reports, due diligence procedures, investigation process, or

other processes. The undersigned further acknowledge and agree that the reporting requirements

contained in Paragraph 10 and the representations contained in this certification constitute a

significant and important component of the Agreement and of the                     determination

whether the Company has satisfied its obligations under the Agreement.




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       The undersigned hereby certify that they are the President and Class A Manager of the

Company, and the President of the Company, respectively, and that each has been duly authorized

by the Company to sign this Certification on behalf of the Company.

       This Certification shall constitute a material statement and representation by the

undersigned and by, on behalf of, and for the benefit of, the Company to the executive branch of

the United States for purposes of 18 U.S.C. § 1001, and such material statement and representation

shall be deemed to have been made in the District of Columbia. This Certification shall also

constitute a record, document, or tangible object in connection with a matter within the jurisdiction

of a department and agency of the United States for purposes of 18 U.S.C. § 1519, and such record,

document, or tangible object shall be deemed to have been made in the District of Columbia.



Date: _____________________           Name (Printed): Christopher Williams


                                      Name (Signed): __________________________________
                                      President and Class A Manager
                                      Balfour Beatty Communities, LLC


Date: _____________________           Name (Printed): Richard Taylor


                                      Name (Signed): __________________________________
                                      President
                                      Balfour Beatty Communities, LLC




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